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                                                                               United States Bankruptcy Court
                                                                                   Southern District of Texas

                                                                                      ENTERED
                          UNITED STATES BANKRUPTCY COURT                          September 13, 2022
                            SOUTHERN DISTRICT OF TEXAS                             Nathan Ochsner, Clerk
                                  HOUSTON DIVISION

 In re:                                       §
                                              §                   Chapter 11
 Free Speech Systems LLC,                     §
                                              §            Case No. 22-60043 (CML)
                Debtor.                       §

       ORDER DENYING MOTION FOR EXPEDITED CONSIDERATION OF
PQPR HOLDINGS LIMITED, LLC’S AMENDED MOTION TO DIRECT SUBCHAPTER
   V TRUSTEE TO INVESTIGATE FINANCIAL OPERATIONS OF THE DEBTOR
                            [Docket No. 136]
        The Court denies PQPR Holdings Limited LLC's Motion for Expedited Consideration
of its Amended Motion to Direct Subchapter V Trustee to Investigate Financial Operations of
the Debtor.

       The Court will consider the Amended Motion to Direct Subchapter V Trustee to Investigate
Financial Operations of the Debtor on October 12, 2022 at 10:00 a.m.



            August 02,
            September  2019
                      13, 2022
